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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
 SEKIGUCHI CO., LTD.,
                                            Case No.: 1:19-cv-05156
       Plaintiff,
                                            Judge Thomas M. Durkin
    v.
                                            Magistrate Judge Sheila Finnegan
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
               17                                       egomall
               62                                        nhw1
              149                                    Shenzhenmtcp
               29                                      Crazyxb
              139                                        hight3
               54                                      greatamy
               73                                       Starone
              142                                      Lakeball
              127                                      Bagartist
              148                                        sd005


DATED: October 4, 2019                      Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-675-6079
                                                    E-mail: keith@vogtip.com
                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-05156 Document #: 32 Filed: 10/04/19 Page 2 of 2 PageID #:2795




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 4, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
